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                                THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DVISION

                                           DATE 9/27/2022

DISTRICT JUDGE                                        COURT REPORTER: Chris Bickham
Amos L. Mazzant, III                                  COURTROOM DEPUTY: Keary Conrad
    UNITED STATES OF AMERICA

                                                        CASE NUMBER 4:20CR318.1
    V.

    KEITH TODD ASHLEY


    ATTORNEY FOR GOVERNMENT                             ATTORNEY FOR DEFENDANT
    Heather Rattan, Jay Combs, AUSA and Jason           James Whalen and Ryne Sandel
    Fine, SAUSA

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

  TIME:          MINUTES: Jury Trial – Day 1
  8:26 a.m.      Court in session. Court notes appearances of the Parties.
  8:27 a.m.      Court notifies the parties that the Court has been contacted by a juror requesting release.
                 Counsel confer.
  8:30 a.m.      Government does not desire to release her. Defendant does not agree to release her. Court
                 does not agree to release her. Defendant’s counsel notes that the juror with the issue is
                 one that defense would have struck.
  8:32 a.m.      Court hears argument from Government AUSA Heather Rattan regarding opening
                 statement.
  8:34 a.m.      Court hears from Government AUSA Heather Rattan to orally dismiss Count 17 and 18
                 move forward only on Count 18 and the 924(j) issue with a special instruction. Court
                 orally grants the Government’s oral motion to dismiss Count 17.
  8:35 a.m.      Bench conference.
  8:40 a.m.      Jury seated.
  8:41 a.m.      Court reads preliminary instructions to the jury.
  8:56 a.m.      Government AUSA Heather Rattan begins opening statement.
  9:32 a.m.      Defendant’s counsel, James Whalen begins opening statement.
  9:43 a.m.      Government AUSA Heather Rattan calls Denny Willmon.
  9:46 a.m.      Bench conference.
  9:51 a.m.      Witness, Denny Willmon placed under oath. Government AUSA Heather Rattan
                 begins direct examination of witness, Denny Willmon.
  9:54 a.m.      Bench conference.
  9:55 a.m.      The rule is invoked. Any potential witnesses are asked to leave the courtroom.
                 Government AUSA Heather Rattan continues direct examination of witness,
                 Denny Willmon.
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9:58 a.m.    Government AUSA Heather Rattan moves for the admission of Government Exhibit
             45A. No objection. Government Exhibit 45A is admitted.
10:05 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibit
             46. No objection. Government Exhibit 46 is admitted.
10:10 a.m.   Defendant’s counsel, James Whalen begins cross examination of witness, Denny
             Willmon.
10:14 a.m.   Government AUSA Heather Rattan re-direct.
10:15 a.m.   Witness excused.
10:15 a.m.   Jury excused.
10:16 a.m.   Defendant’s counsel, James Whalen requests the Court remove a poster from the 3rd
             floor. Court requests USM remove poster.
10:17 a.m.   Court recess for 15 minutes.
10:34 a.m.   Court re-convened.
10:34 a.m.   Government AUSA Heather Rattan calls Jeanny Gallot. Witness placed under oath.
             Government AUSA Heather Rattan begins direct examination of witness, Jeanny
             Gallot.
10:38 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibit
             8B. No objection. Government Exhibit 8B is admitted.
10:43 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibits
             49 and 55. No objection. Government Exhibits 49 and 55 are admitted.
10:51 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibits
             52b, 52c, 52d. No objection. Government Exhibits 52b, 52c, 52d are admitted.
10:57 a.m.   Defendant’s counsel, Ryne Sandel begins cross examination of witness, Jeanny Gallot.
11:02 a.m.   Witness excused.
11:03 a.m.   Government AUSA Heather Rattan calls Matt Wylie. Witness placed under oath.
             Government AUSA Heather Rattan begins direct examination of Matt Wylie.
11:09 a.m.   Government AUSA Heather Rattan offers Exhibit 47. Defendant objects to lack of
             predicate. Objection overruled. Government Exhibit 47 is admitted.
11:18 a.m.   Defendant’s counsel, James Whalen begins cross examination of witness, Matt Wylie.
11:23 a.m.   Government AUSA Heather Rattan begins re-direct examination of witness, Matt
             Wylie.
11:24 a.m.   Defendant’s counsel, James Whalen begins re-cross examination of witness, Matt
             Wylie.
11:25 a.m.   Witness is excused subject to recall.
11:25 a.m.   Government AUSA Heather Rattan calls Leonid Shteyngart. Witness placed under
             oath. Government AUSA Heather Rattan begins direct examination of Leonid
             Shteyngart.
11:36 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibits
             42B, 43A, 43B. No objection. Government Exhibits 42B, 43A, 43B are admitted.
11:43 a.m.   Defendant’s counsel, James Whalen begins cross examination of witness, Leonid
             Shteyngart.
11:45 a.m.   Government AUSA Heather Rattan re-calls Matt Wylie. Witness reminded he is under
             oath. Government AUSA Heather Rattan begins direct examination of Matt Wylie.
11:49 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibits
             44A and 44B. Objection to predicate.
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11:49 a.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibits
             44A and 44B. Objection to predicate. Objection overruled. Government Exhibits 44A
             and 44B are admitted.
11:56 a.m.   Defendant’s counsel, James Whalen begins cross examination of witness, Matt Wylie .
11:58 a.m.   Witness excused subject to recall.
11:59 a.m.   Jury excused.
12:01 p.m.   Court recess for lunch.
1:03 p.m.    Court re-convened. Jury seated.
1:03 p.m.    Bench conference.
1:04 p.m.    Government AUSA Heather Rattan recalls Denny Willmon. Witness Willmon is
             reminded he is still under oath. Defendant objects to the recall of the witness, Denny
             Willmon. Objection overruled.
1:06 p.m.    Government AUSA Heather Rattan begins direct examination of Denny Willmon.
1:07 p.m.    Defendant’s counsel, James Whalen begins cross examination of Denny Willmon.
1:08 p.m.    Witness excused.
1:09 p.m.    Government SAUSA Jason Fine calls Robert Greening. Defendant’s counsel, Ryne
             Sandel objects to the witnesses. Court overrules the Defendant’s objection. Witness
             placed under oath. Government SAUSA Jason Fine begins direct examination of
             Robert Greening.
1:20 p.m.    Government SAUSA Jason Fine moves for the admission of Government Exhibit 48.
             No objection. Government Exhibit 48 is admitted.
1:37 p.m.    Government SAUSA Jason Fine moves for the admission of Government Exhibits 50,
             51. Objection. Objections are overruled. Government Exhibits 50 and 51 are admitted.
2:03 p.m.    Defendant’s counsel, Ryne Sandel begins cross examination of witness, Robert
             Greening.
2:08 p.m.    Bench conference.
2:10 p.m.    Defendant’s counsel, Ryne Sandel continues cross examination of witness, Robert
             Greening.
2:25 p.m.    Witness excused.
2:26 p.m.    Government AUSA Heather Rattan re-calls Matt Wylie. Witness reminded he is under
             oath. Government AUSA Heather Rattan begins direct examination of Matt Wylie.
2:32 p.m.    Government AUSA Heather Rattan moves for the admission of Government Exhibit
             52A. Objection 403, 401, and 404(b). Objections are overruled. Government Exhibit
             52A is admitted.
2:43 p.m.    Government AUSA Heather Rattan moves for the admission of Government Exhibits
             53B and 54. Objection as to predicate.
2:43 p.m.    Government AUSA Heather Rattan moves for the admission of Government Exhibits
             56A, 56B.
2:44 p.m.    Bench conference.
2:45 p.m.    Objection to exhibit based on characterizations on the exhibit. Objection overruled.
             Exhibits 56A and 56B are admitted.
3:00 p.m.    Government AUSA Heather Rattan moves for the admission of Government Exhibit
             57. No objection. Government Exhibit 57 is admitted.
3:02 p.m.    Jury excused for break.
3:02 p.m.    Court recess for 15 minute break.
3:20 p.m.    Court re-convened. Jury seated.
3:21 p.m.    Government AUSA Heather Rattan continues direct examination of Matt Wylie.
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3:30 p.m.   Defendant’s counsel, James Whalen begins cross examination of Matt Wylie.
3:39 p.m.   Witness excused subject to recall.
3:39 p.m.   Government AUSA Heather Rattan calls Alisha Molina. Witness placed under oath.
            Government AUSA Heather Rattan begins direct examination of witness, Alisha
            Molina.
3:42 p.m.   Government AUSA Heather Rattan offers Government Exhibit 59. Defendant’s
            counsel, James Whalen takes the witness on voir dire. No objection. Government
            Exhibit 59 is admitted.
3:46 p.m.   Defendant’s counsel, James Whalen begins cross examination.
3:48 p.m.   Witness excused.
3:48 p.m.   Government AUSA Heather Rattan calls John Cosenza. Witness placed under oath.
            Government AUSA Heather Rattan begins direct examination of witness, John
            Cosenza.
3:54 p.m.   Government AUSA Heather Rattan moves for the admission of Government Exhibit
            60. No objection. Government Exhibit 60 is admitted.
4:02 p.m.   Defendant’s counsel, James Whalen begins cross examination of witness, John
            Cosenza.
4:11 p.m.   Witness excused.
4:12 p.m.   Bench conference.
4:13 p.m.   Court will convene tomorrow at 9:00 a.m.
4:13 p.m.   Government AUSA Heather Rattan advises the Court that they are releasing the AT &
            T record custodian regarding 4A, 4B and 95. No objection by defense.
4:14 p.m.   Court adjourned.

                                            DAVID O’TOOLE, CLERK
                                            BY:      Keary Conrad
                                               Courtroom Deputy Clerk
